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                EXHIBIT B
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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

DE’KELVIN RAFAEL MARTIN,                )
                                        )
     Plaintiff,                         )
                                        )
v.                                      )           Civil Action No.
                                        )           1:18-cv-04617-MLB
TIMOTHY WARD, Commissioner,             )
     Georgia Department of Corrections; )
                                        )
                                        )
BENJAMIN FORD, Warden,                  )
     Georgia Diagnostic and             )
     Classification Prison;             )
                                        )
     Defendants.                        )
____________________________________)

            PLAINTIFF’S FIRST SET OF INTERROGATORIES
                    DIRECTED TO DEFENDANTS

      Plaintiff De’Kelvin Rafael Martin (“Plaintiff”) pursuant to Federal Rules of

Civil Procedure 26 and 33, hereby serves his First Set of Interrogatories Directed to

Defendants. Plaintiff requests that Defendants respond fully to each of the following

Interrogatories in writing and under oath within (30) days of service.

                                  DEFINITIONS

      1.     “Action” means the above-captioned matter.



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      2.     “Communication” and any variant thereof shall mean any

conversations or oral or written contact, formal or informal, at any time or place, and

under any circumstances whatsoever, whereby information of any nature was

transmitted or transferred. It includes, but is not limited to, meeting, telephones,

conversations, discussions, correspondence, reports, executive summaries,

briefings, oral requests for information, memoranda, data processing, pictures,

recordings, voice mail messages, email messages, and text messages.

      3.     “Concerning” and any variant thereof means, without limitations,

constituting, referring to, alluding to, responding to, relating to, connected with,

commenting upon, in respect to, about, regarding, discussing, showing, contrasting,

comparing, contradicting, describing, reflecting, or analyzing.

      4.     “GDC” means Georgia Department of Corrections.

      5.     “Identify” when used with respect to persons means to give, to the

extent known, the person’s full name, present or last known address, and when

referring to a natural person, additionally, the present or last known place of

employment. Once a person has been identified in accordance with this

subparagraph, only the name of that person need be listed in response to subsequent

discovery requesting the identification of that person.



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      6.        “Identify” when used with respect to Documents means to give, to the

extent known, the: (i) type of document; (ii) general subject matter; (iii) date of the

document; and (iv) author(s), addressee(s) and recipient(s).

      7.        “Person” or “Persons” includes natural persons, corporations,

companies, partnerships, trusts, firms, joint ventures, proprietorships, estates,

agencies, departments, or bureau (governmental or private), groups, associations,

organizations, and all other forms of business, governmental, or juridical person or

other entity.

      8.        “Public Affairs Officer” means an employee of the Office of Public

Affairs for the Georgia Department of Corrections.

      9.        “Related to,” “Relating to,” “Refer,” “Referring to,” or “Regarding”

shall mean directly or indirectly mentioning or describing, pertaining to, being

connected with, or reflecting upon a stated subject matter.

      10.       “You,” “Your,” “Yours,” or “Defendants” means Timothy Ward and

Benjamin Ford, both individually and collectively, and all persons or entities acting

on their behalf or pursuant to their direction or request.

      11.       Unless given a specific definition in these requests, each word or term

used shall be given its usual and customary dictionary definition, except where such

words have a specific custom and usage definition in Your trade or industry, in which

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case they shall be interpreted in accordance with such usual custom and usage

definition of which You are aware. In construing the following requests:

(a) the singular shall include the plural and the plural shall include the singular;

(b) a masculine, feminine, or neutral pronoun shall not exclude the other genders;

(c) the past tense includes the present tense; (d) the terms “any” or “all” shall be

understood to mean “any and all”; and (e) the terms “and” and “or” shall be read in

the conjunctive or disjunctive or both, such that the request is understood in the most

expansive manner.

      12.    Unless otherwise stated, any reference in these requests to a title,

position, term, or assignment which appears in the July 17, 2012 Lethal Injection

Procedures for the Georgia Department of Corrections and the Georgia Diagnostic

and Classification Prison, shall have the meaning assigned to it by that document.

                                    INSTRUCTIONS

      1.     You are required to comply with this request under the provisions of

Rules 26 and 33 of the Federal Rules of Civil Procedure. In accordance with Rule

33(b)(4) of the Federal Rules of Civil Procedure, you have the right to object to any

interrogatory, or part thereof, but you must state the specific ground for the

objection. All information called for by those portions of the interrogatory to which

there is no objection shall be answered.

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      2.     If you object to any interrogatory on the ground of over-breadth, you

are instructed to respond to the interrogatory as narrowed to conform to your

objection.

      3.     If you encounter any ambiguity in construing an interrogatory, or the

Definition or Instruction relevant to the interrogatory, set forth the matter deemed

“ambiguous” and set forth the construction chosen or used in responding.

      4.     If any information required to answer any interrogatory or sub-part is

withheld on the basis of any privilege or protection, or is contained in a privileged

document or communication, please provide a statement of the basis upon which the

asserted privilege or protection is claimed.

      5.     If you cannot answer in full the following interrogatories, after

exercising due diligence to secure the information necessary to do so, so state and

answer to the fullest extent possible, specifying your inability to answer the

remainder and stating whatever information or knowledge you have concerning the

unanswered portions.

      6.     Each interrogatory calls for information known by or available to you

or from any source in your possession, custody, or control, wherever situated,

including, but not limited to, information available to you through reasonable

inquiry, including inquiry of your representatives and agents.

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      7.     Unless otherwise stated, these interrogatories seek information

regarding the time period from January 1, 2012 through the present (the “Relevant

Time Period”). All requests refer to the Relevant Time Period and shall include all

documents and information that relate to, were referenced, or were in effect during

the Relevant Time Period, even if first prepared, generated, received, or published

outside of the Relevant Time Period.

      8.     These interrogatories are of a continuing nature and require

supplemental responses under Federal Rule of Civil Procedure 26(e). You are

obligated to amend or seasonably supplement your responses if you obtain additional

information or if you determine that the information provided is no longer correct.

                              INTERROGATORIES

INTERROGATORY NO. 1:

      Identify each Person involved in the adoption and/or implementation of

Georgia’s current lethal injection protocol, including each Person’s full name, title,

affiliation, office, department, and role to the extent applicable, including, but not

limited to Defendants’ employees who have procured or presently procure drugs,

supplies, or equipment for use in lethal injections; or any medical personnel or

experts consulted or retained by Defendants.



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INTERROGATORY NO. 2:

      Identify each Person involved in the administration of Georgia’s current lethal

injection protocol, including in the execution of Andrew Allen Cook, including each

Person’s full name, title, affiliation, office, department, and role to the extent

applicable, including but not limited to any Public Affairs Officer, Deputy Warden,

assistants, physicians, members of Defendants’ IV team and IV Nurses, corrections

officers who serve or have served on Defendants’ Special Escort Team for

executions, members of Defendants’ Injection Team for executions, security

personnel, or chaplains who have participated during the Relevant Time Period or

presently participate in executions; participants and supervisors in the Critical

Incident Debriefing Team meetings following executions; the pharmacies and

pharmacists who have compounded or presently compound drugs for use in lethal

injections; any medical examiner who has conducted autopsies or presently conducts

autopsies of executed prisoners; or any individuals designated as State’s witnesses

who have witnessed executions.

INTERROGATORY NO. 3:

      Identify all suppliers and manufacturers of equipment used under Georgia’s

current lethal injection protocol, including in the execution of Andrew Allen Cook,

including full name, contact information, and an itemization of equipment involved.

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INTERROGATORY NO. 4:

      Identify all manufacturers, suppliers, distributors, procurement officers, and

providers of drugs or other substances used under Georgia’s current lethal injection

protocol, including in the execution of Andrew Allen Cook, including full name,

contact information, and the drug or other substances involved.

INTERROGATORY NO. 5:

      Identify all pharmacies and pharmacists who, during the Relevant Time

Period, have compounded drugs or other substances used in Georgia’s current lethal

injection protocol, including full name, contact information, and the drug or other

substances involved.

INTERROGATORY NO. 6:

      Identify all Persons who, during the Relevant Time Period, have prescribed

drugs for use in executions under Georgia’s current lethal injection protocol,

including each Person’s full name, title and qualifications, such as, but not limited

to, education, experience, certifications, and/or training.

INTERROGATORY NO. 7:

      Describe and identify any state-mandated qualifications for any position that

includes in its duties the administration of Georgia’s current lethal injection protocol,

including but not limited to education, experience, certifications, and/or training.

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INTERROGATORY NO. 8:

      Identify and describe each instance in which a Critical Incident Debriefing

was conducted following an execution, including but not limited to the identification

of those in attendance, the name of the condemned, the date, the location, and any

documents created in preparation for, during, or memorializing that debriefing.

INTERROGATORY NO. 9:

      Identify and describe each alternative method of execution considered during

the adoption of Georgia’s current lethal injection protocol.

INTERROGATORY NO. 10:

      Identify each individual who participated in the drafting, implementation, or

adoption of the Georgia Lethal Injection Secrecy Act.

INTERROGATORY NO. 11:

      Do you contend that execution by firing squad is not a feasible, readily

implemented alternative to execution by lethal injection in this state? If so, provide

the entire factual and legal basis for your contention.


      This 20th day of February, 2020.

                                              By: /s/ Danielle Chattin
                                              John C. Toro
                                              J. Andrew Pratt
                                              Danielle Chattin
                                              Elliott A. Foote
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                                    Gerald W. King, Jr.
                                    Nathan Potek
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                                    101 Marietta Street, Suite 1500
                                    Atlanta, Georgia 30303
                                    (404) 688-7530

                                    Counsel for Plaintiff




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
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DE’KELVIN RAFAEL MARTIN,                )
                                        )
     Plaintiff,                         )
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v.                                      )       Civil Action No.
                                        )       1:18-cv-04617-MLB
TIMOTHY WARD, Commissioner,             )
     Georgia Department of Corrections; )
                                        )
                                        )
BENJAMIN FORD, Warden,                  )
     Georgia Diagnostic and             )
     Classification Prison;             )
                                        )
     Defendants.                        )
____________________________________)


                       CERTIFICATE OF SERVICE

     I hereby certify that on this day, the 20th of February, 2020, I served the

foregoing PLAINTIFF’S FIRST SET OF INTERROGATORIES DIRECTED

TO DEFENDANTS to the following attorneys of record:

                       Sabrina D. Graham
                       Senior Assistant Attorney General
                       Channell V. Singh
                       Assistant Attorney General
                       40 Capitol Square, SW
                       Atlanta, Georgia 30334
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                             /s/ Danielle Chattin
                             Danielle Chattin
                             Counsel for Plaintiff
